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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF
                                  TENNESSEE


 UNITED STATES OF AMERICA,                   )
                                             )
              Plaintiff,                     )
                                             )
 vs.                                         )         No. 1:19-cr-10040
                                             )
 ANDREW RUDIN, ET AL                         )
                                             )
              Defendant.                     )
                                             )


                                        ORDER

       This cause coming before this Court on Defendant, Andrew Rudin’s Unopposed Motion

to RESET THE REPORT DATE, upon said motion and for good cause shown, it is thereby

ORDERED that REPORT DATE as to all three Defendants is reset to ___________, 2020 @

_________ AM/PM in Courtroom 3 - Memphis before Judge John T. Fowlkes Jr.



IT IS SO ORDERED,

On this ____ day of December 2020.



/s/
John T. Fowlkes Jr.
UNITED STATES DISTRICT JUDGE
